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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

Melissa Zahora, individually and on behalf of                        1:21-cv-00705
all others similarly situated,
                                   Plaintiff,

                     - against -                                   Joint Status Report

Orgain, LLC,
                                   Defendant

        The Parties, through their undersigned counsel, submit this Joint Status Report.

        1.      Jurisdiction and Service

                A.      Joint Statement

        Defendant (“Defendant”) has been served in this proceeding. No remaining parties need to

be served. Defendant does not contest personal jurisdiction. The parties agree that venue is proper.

                B.      Plaintiff’s Statement

        The Court has subject matter jurisdiction pursuant to the Class Action Fairness Act of 2005.

The Court has subject matter jurisdiction over Plaintiff’s claim for injunctive relief for the reasons

to be set forth when Plaintiff opposes Defendant’s motion to dismiss the First Amended Complaint

(“FAC”).

                C.      Defendant’s Statement

        Defendant does not agree that this Court has subject matter jurisdiction as to Plaintiff’s

request for injunctive relief.

        2.      Facts

                A.      Plaintiff’s Statement

        As alleged in the operative complaint, this is an action brought against Defendant for
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alleged violation of the consumer protection laws of this state for Defendant’s allegedly false,

deceptive, and unlawful marketing and sales of its vanilla beverage (“Product”).

       Defendant misrepresents the key ingredient in the Product – vanilla. Laboratory test results

show, or would show, that the vanilla taste of the Product does not come exclusively, or even

predominantly, from the vanilla bean but from non-vanilla and even artificial sources. This is

material to consumers and in violation of this state’s consumer protection laws.

               B.      Defendant’s Statement

       This is a class action brought on behalf of a purported class of consumers who purchased

Defendant’s product vanilla beverages. Plaintiff alleges that the product labeling is deceptive

because the name “vanilla” and the image of a vanilla flower and bean on the front label misled

consumers into thinking that the flavor of the product comes exclusively from the vanilla bean.

       Plaintiff is wrong on the facts and law, as dozens of courts have already concluded. No

reasonable consumers expect actual vanilla in a mass-produced, affordable nutrition drink. Indeed,

Plaintiff cannot credibly claim the Product does not taste like vanilla. This is exactly what she and

other consumers received.

       3.      Legal Issues

               A.      Plaintiff’s Position

       Plaintiff believes numerous issues of fact preclude dismissal. The FAC plausibly alleges

Defendant’s representations violate the consumer protection laws of this state.

               B.      Defendant’s Position

       Plaintiff’s First Amended Complaint suffers from the same deficiencies as set forth in

Defendant’s first motion to dismiss; primarily, that Plaintiff does not plausibly allege a theory of

deception and reliance and a reasonable consumer would not be deceived by the labeling of the
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product into thinking that the product’s vanilla flavor comes exclusively from vanilla bean.

          4.      Motions

          Defendant filed a motion to dismiss the Complaint (“Defendant’s Motion”). On July 19,

2021, Plaintiff filed a First Amended Complaint.

          Defendant will review the FAC, but it is certain Defendant will again seek dismissal of this

action.

          The parties do not foresee motions seeking to add parties or claims, amend pleadings or

transfer venue.

          Plaintiff will file a motion for class certification and possibly a motion for summary

judgment. Should this case continue beyond the motion to dismiss stage, Defendant intends to

oppose any motion for class certification and file a motion for summary judgment.

          5.      Amendment of Pleadings

          Plaintiff does not intend to amend the pleadings beyond the FAC.

          6.      Evidence Preservation

          Defendant and Plaintiff have each represented that steps have been taken to preserve

evidence relevant to this litigation. The parties will continue to discuss whether and to what extent

any additional steps may be necessary to ensure the preservation of relevant evidence. Should this

case continue past the motion to dismiss stage, the parties will meet and confer regarding the scope

and nature of electronic discovery in this case as required by and consistent with applicable law

and the local rules. If the parties are unable to reach an understanding on evidence preservation or

electronic discovery, the disputed matter will be submitted to the Court for a formal order.

          7.      Disclosures
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       Plaintiff proposes that the parties exchange initial disclosures by July 23, 2021.

       Defendant’s position is that initial disclosures should be exchanged two weeks after

Defendant files an answer to the operative complaint, should this case continue beyond the motion

to dismiss stage.

       8.      Discovery

       Neither party has served any formal discovery. The parties have reviewed the ESI

Guidelines regarding electronically stored information and will confer regarding discovery.

       Because discovery in this action is likely to involve the production of confidential

information, the parties anticipate filing a Stipulated Protective Order, and intend to work together

cooperatively to reach agreement on the terms of that Order. The parties are conferring regarding

the form of Order now and will submit an Order for the Court’s consideration and entry. The

parties believe that the limits on discovery set by the Federal Rules of Civil Procedure are

appropriate.

               A.      Plaintiff’s Statement

       Plaintiff will issue document requests, interrogatories, and requests for admission. Plaintiff

will also depose corporate representatives of Defendant pursuant to Federal Civil Procedure Rule

30(b)(6) as well as employees of Defendant in their individual capacity. Plaintiff will depose any

experts that Defendant will use in this matter.

       The subjects of Plaintiff’s discovery may include, among other subjects, the marketing and

labeling of the Product; Defendant’s studies of consumer interpretation of the labels; and

Defendant’s pricing of the Products.

               B.      Defendant’s Statement

       With a pending motion to dismiss, it is premature to discuss the format and scope of
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discovery. Discovery should not commence until after the Court follows the reasoned decisions

of numerous other courts and dismisses this action.

       Should this case continue beyond the motion to dismiss stage, Defendant will serve and

respond to discovery that is proportional to the needs and posture of the case, including but not

limited to written discovery and depositions.

       9.      Class Action

               A.        Plaintiff’s Position

       Plaintiff contends that this action is maintainable as a class action under Rule 23(a), (b)(2),

and (b)(3). Plaintiff’s proposed briefing schedule is set forth in section 18 below.

               B.        Defendant’s Position

       It is premature to set class certification dates until the pending motion to dismiss is decided,

for the same reasons that it would be premature to participate in mediation until such time as the

Court rules.

       Furthermore, it may be that the next order of business should be summary judgment and

not class certification. Defendant respectfully suggests that the Court convene a new case

management conference after issuing its decision on the motion to dismiss.

       At the appropriate time to set a schedule, Defendant believes that the briefing schedule on

any motion for class certification should reflect the amount of time necessary to conduct expert

and factual discovery.

       Consequently, any class certification schedule that is set should afford Defendant at least

60 days from the date of the motion to prepare its opposition.

       10.     Related Cases
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                 A.       Plaintiff’s Statement

          Plaintiff is not aware of any related cases.

                 B.       Defendant’s Statement

          Plaintiff’s counsel Spencer Sheehan has filed numerous similar, but technically not

“related” cases.

          11.    Relief

                 A.       Plaintiff’s Statement
          Plaintiff seeks monetary and injunctive relief. Plaintiff intends to utilize damage experts to

determine the amount of relief.

                 B.       Defendant’s Statement

          Defendant denies that Plaintiff or the proposed classes are entitled to any relief in this

action.

          12.    Settlement and ADR

          The parties have not discussed settlement at this point. The parties believe that if this Court

determines the case should move past the pleading stage, settlement discussions may be

appropriate.

          13.    Consent to a Magistrate Judge for All Purposes

          One or more parties have declined consent to proceed before a Magistrate.

          14.    Other References

          The parties do not believe that the case is suitable for reference to binding arbitration, a

special master, or the Judicial Panel on Multidistrict Litigation.
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         15.     Narrowing of the Issues

         The parties do not believe any issue can be narrowed at this juncture, except as set forth in

Defendant’s anticipated motion to dismiss.

         16.     Expedited Trial Procedure

         The parties do not believe that the case can be handled under an expedited trial procedure.

         17.     Scheduling

                 A.     Plaintiff’s Proposed Schedule


 Event                                                   Proposed Schedule

 Deadline to Join Parties                                45 days after Defendant files an answer to

                                                         the operative complaint

 Deadline to Amend Pleadings                             60 days prior to trial

 Deadline for Plaintiff to File Motion for Class 210 days after ruling on Defendant’s Rule

 Certification                                           12 motion to dismiss

 Deadline to Complete Depositions of Plaintiff’s 30 days after filing motion for class

 Experts re: Class Certification                         certification

 Deadline for Opposition to Motion for Class 60 days after filing motion for class

 Certification                                           certification

 Deadline to Complete Depositions of Defendant’s 30 days after filing opposition to motion

 Experts re: Class Certification                         for class certification

 Deadline for Plaintiff to File Reply in Support of 60 days after Defendant files opposition to

 Class Certification                                     motion for class certification

 Class Certification Hearing                             Pursuant to Court’s Schedule
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 Deadline to Complete Fact Discovery                       120 days after ruling on class certification

 Last Day for Parties to Exchange Rule 26(a)(2) 120 days after ruling on class certification

 Initial Expert Disclosures on Merits

 Last Day for Parties to Exchange Rule 26(a)(2) 150 days after ruling on class certification

 Counter Expert Designations on Merits

 Last Day to Complete Merits Expert Depositions 180 days after ruling on class certification

 and Document Production

 Deadline to File Dispositive Motions                      30 days after completion of expert

                                                           discovery

 Pre-Trial Conference                                      30 days after ruling on dispositive motions

 Trial                                                     TBD

                 B.      Defendant’s Position

         To the extent this Court has a strong preference for setting a schedule now, Defendant does

not object to Plaintiff’s proposed schedule. However, in light of the very real possibility that this

Court reaches the same conclusions as the numerous other courts to consider these issues,

Defendant submits that it may be premature to discuss scheduling until resolution of the motion to

dismiss.

         18.     Trial

         Plaintiff has demanded a jury trial on all matters so triable. The parties anticipate a trial of

five to seven days. Defendant respectfully submits that it is premature to set trial dates or estimate

the length of trial until after adjudication of class certification.

         19.     Disclosure of Non-party Interested Entities
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         To the extent required by this Court’s Rules, the parties will file Certifications of Interested

Entities or Persons.

         20.      Professional Conduct

         All attorneys of record have reviewed this Court’s Rules and shall abide by the conduct

requirements contained therein.

         21.      Other Matters

         The parties are not currently aware of any other issues affecting the status or management

of the case at this time.

Dated:         July 19, 2021
                                                         Respectfully submitted,


Sheehan & Associates, P.C.                               Amin Talati LLP


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